                                                             Case 2:15-cv-00652-AB-E Document 68 Filed 04/16/18 Page 1 of 22 Page ID #:773



                                                              1   STEPHEN J. ERIGERO (SBN 121616)
                                                                  TAHEREH MAHMOUDIAN (SBN 217120)
                                                              2   ROPERS, MAJESKI, KOHN & BENTLEY
                                                                  445 South Figueroa Street, Suite 3000
                                                              3   Los Angeles, CA 90071
                                                                  Telephone: (213) 312-2000
                                                              4   Facsimile: (213) 312-2001
                                                                  Email:      stephen.erigero@rmkb.com
                                                              5               tahereh.mahmoudian@rmkb.com
                                                              6   Attorneys for Answering Defendants NAPOLI BERN RIPKA &
                                                                  ASSOCIATES, LLP; NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES,
                                                              7   LLP; NAPOLI BERN RIPKA SHKOLNIK, LLP; NAPOLI, BERN, RIPKA,
                                                                  LLP; NAPOLI, KAISER, BERN, LLP
                                                              8
                                                                                            UNITED STATES DISTRICT COURT
                                                              9
Ropers Majeski Kohn & Bentley




                                                                                          CENTRAL DISTRICT OF CALIFORNIA
                                                             10
                                                             11
                                A Professional Corporation




                                                                  MARC I. WILLICK, an individual,                  Case No. 2:15-cv-00652AB-E
                                                             12
                                                                                     Plaintiff,                    Honorable Andre Birotte, Jr.
                                       Los Angeles




                                                             13
                                                                  v.                                           DEFENDANTS NAPOLI BERN
                                                             14                                                RIPKA SHKOLNIK &
                                                                  NAPOLI BERN RIPKA &                          ASSOCIATES, LLP; NAPOLI BERN
                                                             15   ASSOCIATES, LLP, a purported                 RIPKA SHKOLNIK, LLP; NAPOLI,
                                                                  limited liability partnership; NAPOLI        BERN, RIPKA, LLP; NAPOLI,
                                                             16   BERN RIPKA SHKOLNIK &                        KAISER, BERN, LLP’S ANSWER
                                                                  ASSOCIATES, LLP, a purported                 TO FIRST AMENDED COMPLAINT
                                                             17   limited liability partnership; NAPOLI
                                                                  BERN RIPKA SHKOLNIK, LLP, a
                                                             18   purported limited liability partnership;
                                                                  NAPOLI BERN RIPKA, LLP, a
                                                             19   purported limited liability partnership;
                                                                  NAPOLI KAISER BERN, LLP, a
                                                             20   purported limited liability partnership;
                                                                  MARC J. BERN, an individual; PAUL
                                                             21   J. NAPOLI, an individual; NAPOLI
                                                                  BERN, LLP, a limited liability
                                                             22   partnership; NAPOLI, KAISER, BERN
                                                                  & ASSOCIATES, LLP, a limited
                                                             23   liability partnership; NAPOLI, BERN
                                                                  & ASSOCIATES, LLP, a limited
                                                             24   liability partnership; LAW OFFICES
                                                                  OF NAPOLI BERN RIPKA &
                                                             25   ASSOCIATES LLP, a limited liability
                                                                  partnership; LAW OFFICES OF
                                                             26   NAPOLI BERN RIPKA SHKOLNIK
                                                                  LLP, a limited liability partnership;
                                                             27   LAW OFFICES OF NAPOLI BERN
                                                                  RIPKA SHKOLNIK & ASSOCIATES
                                                             28   LLP, a limited liability partnership;
                                                                                                                               DEFENDANTS’ ANSWER TO FIRST
                                                                  4852-6220-8610.1                           -1-                      AMENDED COMPLAINT
                                                             Case 2:15-cv-00652-AB-E Document 68 Filed 04/16/18 Page 2 of 22 Page ID #:774



                                                              1   PASTERNACK TILKER NAPOLI
                                                                  BERN, LLP a limited liability
                                                              2   partnership; NAPOLI SHKOLNIK
                                                                  PLLC, a professional limited liability
                                                              3   company; NAPOLI LAW PLLC, a
                                                                  professional limited liability company;
                                                              4   PAUL NAPOLI LAW PLLC, a
                                                                  professional limited liability company;
                                                              5   BERN RIPKA LLP, a limited liability
                                                                  partnership; MARC J. BERN &
                                                              6   PARTNERS, LLP, a limited liability
                                                                  partnership; NAPOLI & BERN, LLP, a
                                                              7   limited liability partnership; MARC J.
                                                                  BERN PLLC, a professional limited
                                                              8   liability company, NAPOLI, KAISER
                                                                  & ASSOCIATES, LLP, a limited
                                                              9   liability partnership; NAPOLI, BERN,
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                                                                  KRENTSEL & GUZMAN, LLP a
                                                             10   limited liability partnership; WORBY,
                                                                  GRONER, EDELMAN & NAPOLI
                                                             11   BERN, LLP, a limited liability
                                A Professional Corporation




                                                                  partnership, PAUL NAPOLI PLLC, a
                                                             12   professional limited liability company,
                                                                  and DOES 1 through 50,
                                       Los Angeles




                                                             13
                                                                                       Defendants.
                                                             14
                                                             15
                                                             16            COME NOW Answering Defendants NAPOLI BERN RIPKA SHKOLNIK
                                                             17   & ASSOCIATES, LLP; NAPOLI BERN RIPKA SHKOLNIK, LLP; NAPOLI,
                                                             18   BERN, RIPKA, LLP; NAPOLI, KAISER, BERN, LLP, et al. (“Answering
                                                             19   Defendants”), and for themselves only, and answer Plaintiff MARC I. WILLICK’s
                                                             20   (“Plaintiff”) First Amended Complaint as follows:
                                                             21                                           ANSWER
                                                             22            1.        Answering paragraph 1 of the First Amended Complaint, Answering
                                                             23   Defendants admit that they removed the action originally filed in the Superior Court
                                                             24   of the State of California to the federal court.
                                                             25            2.        Answering paragraph 2 of the First Amended Complaint, Answering
                                                             26   Defendants admit that this Court has subject-matter jurisdiction over this action.
                                                             27   However, the arbitration provision of the agreements entered into between Plaintiff
                                                             28   and Napoli Bern Ripka & Associates requires arbitration of claims under the
                                                                                                                            DEFENDANTS’ ANSWER TO FIRST
                                                                  4852-6220-8610.1                           -2-                   AMENDED COMPLAINT
                                                             Case 2:15-cv-00652-AB-E Document 68 Filed 04/16/18 Page 3 of 22 Page ID #:775



                                                              1   American Arbitration Association rules. Except as expressly admitted, Answering
                                                              2   Defendants deny each and every allegation contained therein.
                                                              3            3.        Answering paragraph 3 of the First Amended Complaint, Answering
                                                              4   Defendants lack information or belief sufficient to either admit or deny the
                                                              5   allegations and, on that basis, deny each and every allegation contained therein.
                                                              6            4.        Answering paragraph 4 of the First Amended Complaint, Answering
                                                              7   Defendants lack information or belief sufficient to either admit or deny the
                                                              8   allegations and, on that basis, deny each and every allegation contained therein.
                                                              9            5.        Answering paragraph 5 of the First Amended Complaint, Answering
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                                                             10   Defendants admit that NAPOLI BERN RIPKA & ASSOCIATES, LLP, NAPOLI
                                                             11   BERN RIPKA SHKOLNIK & ASSOCIATES, LLP, NAPOLI BERN RIPKA
                                A Professional Corporation




                                                             12   SFIKOLNIK, LLP, NAPOLI BERN RIPKA, LLP, and NAPOLI KAISER BERN,
                                       Los Angeles




                                                             13   LLP are limited liability partnerships. Except as expressly admitted and with
                                                             14   regard to any and all remaining allegations in Paragraph 5, Answering Defendants
                                                             15   deny each and every allegation contained therein.
                                                             16            6.        Answering paragraph 6 of the First Amended Complaint, Answering
                                                             17   Defendants lack information or belief sufficient to either admit or deny the
                                                             18   allegations and, on that basis, deny each and every allegation contained therein.
                                                             19            7.        Answering paragraph 7 of the First Amended Complaint, Answering
                                                             20   Defendants lack information or belief sufficient to either admit or deny the
                                                             21   allegations and, on that basis, deny each and every allegation contained therein.
                                                             22            8.        Answering paragraph 8 of the First Amended Complaint, the
                                                             23   allegations contained herein are legal conclusions or recitations of law and do not
                                                             24   require a response. If facts are alleged, Answering Defendant lacks information or
                                                             25   belief sufficient to either admit or deny the allegations and, on that basis, denies
                                                             26   each and every allegation contained therein.
                                                             27            9.        Answering paragraph 9 (and subparagraphs a through p) of the First
                                                             28   Amended Complaint, the allegations contained therein are legal conclusions or
                                                                                                                              DEFENDANTS’ ANSWER TO FIRST
                                                                  4852-6220-8610.1                            -3-                    AMENDED COMPLAINT
                                                             Case 2:15-cv-00652-AB-E Document 68 Filed 04/16/18 Page 4 of 22 Page ID #:776



                                                              1   recitations of the law as alleged by Plaintiff, and as such, they do not require a
                                                              2   response. To the extent that a response may be required, Answering Defendant
                                                              3   denies each and every allegation contained therein or lacks information or belief.
                                                              4            10.       Answering paragraph 10 of the First Amended Complaint, Answering
                                                              5   Defendants lack information or belief sufficient to either admit or deny the
                                                              6   allegations and, on that basis, deny each and every allegation contained therein.
                                                              7            11.       Answering paragraph 11 of the First Amended Complaint, the
                                                              8   allegations contained therein are legal conclusions or recitations of the law as
                                                              9   alleged by Plaintiff, and as such, they do not require a response. To the extent that
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                                                             10   a response may be required, Answering Defendants deny each and every allegation
                                                             11   contained therein.
                                A Professional Corporation




                                                             12            12.       Answering paragraph 12 of the First Amended Complaint, Answering
                                       Los Angeles




                                                             13   Defendants admit that on or about March 7, 2011, Defendant Napoli Bern Ripka &
                                                             14   Associates, LLP entered into a written agreement with Plaintiff (“Agreement 1”), a
                                                             15   copy of which is attached as Exhibit 1 to Plaintiff's First Amended Complaint.
                                                             16   Answering Defendants allege that Agreement 1 is the best evidence of what it
                                                             17   states. Except as expressly admitted and with regard to any and all remaining
                                                             18   allegations in Paragraph 12, Answering Defendants deny each and every allegation
                                                             19   contained therein.
                                                             20            13.       Answering paragraph 13 of the First Amended Complaint, Answering
                                                             21   Defendants admit that on or about May 20, 2011, Defendant Napoli Bern Ripka &
                                                             22   Associates, LLP entered into a written agreement with Plaintiff (“Agreement 2”), a
                                                             23   copy of which (with the exception of Exhibit C to Agreement 2) is attached as
                                                             24   Exhibit 2 to Plaintiff’s First Amended Complaint. Answering Defendants allege
                                                             25   that Agreement 2 is the best evidence of what it states. Except as expressly
                                                             26   admitted and with regard to any and all remaining allegations in Paragraph 13,
                                                             27   Answering Defendants deny each and every allegation contained therein.
                                                             28            14.       Answering paragraph 14 of the First Amended Complaint, Answering
                                                                                                                             DEFENDANTS’ ANSWER TO FIRST
                                                                  4852-6220-8610.1                           -4-                    AMENDED COMPLAINT
                                                             Case 2:15-cv-00652-AB-E Document 68 Filed 04/16/18 Page 5 of 22 Page ID #:777



                                                              1   Defendants admit the allegations contained therein.
                                                              2            15.       Answering paragraph 15 of the First Amended Complaint, Answering
                                                              3   Defendants re-allege and incorporate by reference paragraphs 1 through 15 of this
                                                              4   Answer as set forth above.
                                                              5            16.       Answering paragraph 16 of the First Amended Complaint, the
                                                              6   allegations contained therein are legal conclusions or recitations of the law as
                                                              7   alleged by Plaintiff, and as such, they do not require a response. To the extent that
                                                              8   a response may be required, Answering Defendants deny each and every allegation
                                                              9   contained therein.
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                                                             10            17.       Answering paragraph 17 of the First Amended Complaint, Answering
                                                             11   Defendants re-allege and incorporate by reference paragraphs 1 through 16 of this
                                A Professional Corporation




                                                             12   Answer as set forth above.
                                       Los Angeles




                                                             13            18.       Answering paragraph 18 of the First Amended Complaint, Answering
                                                             14   Defendants deny each and every allegation contained therein. Further, paragraph
                                                             15   18 contains legal conclusions or recitations of the law as alleged by Plaintiff, and as
                                                             16   such, they do not require a response. To the extent that a response may be required,
                                                             17   Answering Defendants lack information or belief sufficient to either admit or deny
                                                             18   the allegations and, on that basis, deny each and every allegation contained therein.
                                                             19            19.       Answering paragraph 19 of the First Amended Complaint, Answering
                                                             20   Defendants allege that Agreement 2 is the best evidence of what it states. Further,
                                                             21   paragraph 19 contains legal conclusions or recitations of the law as alleged by
                                                             22   Plaintiff, and as such, they do not require a response. To the extent that a response
                                                             23   may be required, except as expressly admitted, Answering Defendants lack
                                                             24   information or belief sufficient to either admit or deny the allegations and, on that
                                                             25   basis, deny each and every allegation contained therein.
                                                             26            20.       Answering paragraph 20 of the First Amended Complaint, Answering
                                                             27   Defendants allege that Agreement 2 is the best evidence of what it states. Further,
                                                             28   paragraph 20 contains legal conclusions or recitations of the law as alleged by
                                                                                                                             DEFENDANTS’ ANSWER TO FIRST
                                                                  4852-6220-8610.1                           -5-                    AMENDED COMPLAINT
                                                             Case 2:15-cv-00652-AB-E Document 68 Filed 04/16/18 Page 6 of 22 Page ID #:778



                                                              1   Plaintiff, and as such, they do not require a response. To the extent that a response
                                                              2   may be required, except as expressly admitted, Answering Defendants lack
                                                              3   information or belief sufficient to either admit or deny the allegations and, on that
                                                              4   basis, deny each and every allegation contained therein.
                                                              5            21.       Answering paragraph 21 of the First Amended Complaint, Answering
                                                              6   Defendants allege that Agreement 2 is the best evidence of what it states. Further,
                                                              7   paragraph 21 contains legal conclusions or recitations of the law as alleged by
                                                              8   Plaintiff, and as such, they do not require a response. To the extent that a response
                                                              9   may be required, except as expressly admitted, Answering Defendants lack
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                                                             10   information or belief sufficient to either admit or deny the allegations and, on that
                                                             11   basis, deny each and every allegation contained therein.
                                A Professional Corporation




                                                             12            22.       Answering paragraph 22of the First Amended Complaint, Answering
                                       Los Angeles




                                                             13   Defendants allege that Agreement 2 is the best evidence of what it states. Further,
                                                             14   paragraph 22 contains legal conclusions or recitations of the law as alleged by
                                                             15   Plaintiff, and as such, they do not require a response. To the extent that a response
                                                             16   may be required, except as expressly admitted, Answering Defendants lack
                                                             17   information or belief sufficient to either admit or deny the allegations and, on that
                                                             18   basis, deny each and every allegation contained therein.
                                                             19            23.       Answering paragraph 23 of the First Amended Complaint, the
                                                             20   allegations contained therein are legal conclusions or recitations of the law as
                                                             21   alleged by Plaintiff, and as such, they do not require a response. To the extent that a
                                                             22   response may be required, Answering Defendants lack information or belief
                                                             23   sufficient to either admit or deny the allegations and, on that basis, deny each and
                                                             24   every allegation contained therein.
                                                             25            24.       Answering paragraph 24 of the First Amended Complaint, the
                                                             26   allegations contained therein are legal conclusions or recitations of the law as
                                                             27   alleged by Plaintiff, and as such, they do not require a response. To the extent that
                                                             28   a response may be required, Answering Defendants deny each and every allegation
                                                                                                                             DEFENDANTS’ ANSWER TO FIRST
                                                                  4852-6220-8610.1                           -6-                    AMENDED COMPLAINT
                                                             Case 2:15-cv-00652-AB-E Document 68 Filed 04/16/18 Page 7 of 22 Page ID #:779



                                                              1   contained therein.
                                                              2            25.       Answering paragraph 25 of the First Amended Complaint, the
                                                              3   allegations contained therein are legal conclusions or recitations of the law as
                                                              4   alleged by Plaintiff, and as such, they do not require a response. Answering
                                                              5   Defendants lack information or belief sufficient to either admit or deny the
                                                              6   allegations and, on that basis, deny each and every allegation contained therein.
                                                              7            26.       Answering paragraph 26 of the First Amended Complaint, Answering
                                                              8   Defendants re-allege and incorporate by reference paragraphs 1 through 25 of this
                                                              9   Answer as set forth above.
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                                                             10            27.       Answering paragraph 27 of the First Amended Complaint, the
                                                             11   allegations contained therein are legal conclusions or recitations of the law as
                                A Professional Corporation




                                                             12   alleged by Plaintiff, and as such, they do not require a response. To the extent that
                                       Los Angeles




                                                             13   a response may be required, Answering Defendants deny each and every allegation
                                                             14   contained therein.
                                                             15            28.       Answering paragraph 28 of the First Amended Complaint, the
                                                             16   allegations contained therein are legal conclusions or recitations of the law as
                                                             17   alleged by Plaintiff, and as such, they do not require a response. To the extent that
                                                             18   a response may be required, Answering Defendants deny each and every allegation
                                                             19   contained therein.
                                                             20            29.       Answering paragraph 29 of the First Amended Complaint, Answering
                                                             21   Defendants deny each and every allegation contained therein.
                                                             22            30.       Answering paragraph 30 of the First Amended Complaint, the
                                                             23   allegations contained therein are legal conclusions or recitations of the law as
                                                             24   alleged by Plaintiff, and as such, they do not require a response. To the extent that
                                                             25   a response may be required, Answering Defendants deny each and every allegation
                                                             26   contained therein.
                                                             27            31.       Answering paragraph 31 of the First Amended Complaint, the
                                                             28   allegations contained therein are legal conclusions or recitations of the law as
                                                                                                                             DEFENDANTS’ ANSWER TO FIRST
                                                                  4852-6220-8610.1                           -7-                    AMENDED COMPLAINT
                                                             Case 2:15-cv-00652-AB-E Document 68 Filed 04/16/18 Page 8 of 22 Page ID #:780



                                                              1   alleged by Plaintiff, and as such, they do not require a response. To the extent that
                                                              2   a response may be required, Answering Defendants deny each and every allegation
                                                              3   contained therein.
                                                              4            32.       Answering paragraph 32 of the First Amended Complaint, the
                                                              5   allegations contained therein are legal conclusions or recitations of the law as
                                                              6   alleged by Plaintiff, and as such, they do not require a response. To the extent that
                                                              7   a response may be required, Answering Defendants deny each and every allegation
                                                              8   contained therein.
                                                              9            33.       Answering paragraph 33 of the First Amended Complaint, Answering
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                                                             10   Defendants re-allege and incorporate by reference paragraphs 1 through 32 of this
                                                             11   Answer as set forth above.
                                A Professional Corporation




                                                             12            34.       Answering paragraph 34 of the First Amended Complaint, Answering
                                       Los Angeles




                                                             13   Defendants deny each and every allegation contained therein.
                                                             14            35.       Answering paragraph 35 of the First Amended Complaint, the
                                                             15   allegations contained therein are legal conclusions or recitations of the law as
                                                             16   alleged by Plaintiff, and as such, they do not require a response. To the extent that
                                                             17   a response may be required, Answering Defendants deny each and every allegation
                                                             18   contained therein.
                                                             19            36.       Answering paragraph 36 of the First Amended Complaint, Answering
                                                             20   Defendants re-allege and incorporate by reference paragraphs 1 through 35 of this
                                                             21   Answer as set forth above.
                                                             22            37.       Answering paragraph 37 of the First Amended Complaint, the
                                                             23   allegations contained therein are legal conclusions or recitations of the law as
                                                             24   alleged by Plaintiff, and as such, they do not require a response. To the extent that
                                                             25   a response may be required, Answering Defendants deny each and every allegation
                                                             26   contained therein.
                                                             27            38.       Answering paragraph 38 of the First Amended Complaint, the
                                                             28   allegations contained therein are legal conclusions or recitations of the law as
                                                                                                                             DEFENDANTS’ ANSWER TO FIRST
                                                                  4852-6220-8610.1                           -8-                    AMENDED COMPLAINT
                                                             Case 2:15-cv-00652-AB-E Document 68 Filed 04/16/18 Page 9 of 22 Page ID #:781



                                                              1   alleged by Plaintiff, and as such, they do not require a response. To the extent that
                                                              2   a response may be required, Answering Defendants deny each and every allegation
                                                              3   contained therein.
                                                              4            39.       Answering paragraph 39 of the First Amended Complaint, the
                                                              5   allegations contained therein are legal conclusions or recitations of the law as
                                                              6   alleged by Plaintiff, and as such, they do not require a response. To the extent that
                                                              7   a response may be required, Answering Defendants deny each and every allegation
                                                              8   contained therein.
                                                              9            40.       Answering paragraph 40 of the First Amended Complaint, at this time
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                                                             10   Answering Defendants lack information or belief sufficient to either admit or deny
                                                             11   the allegations and, on that basis, deny each and every allegation contained therein.
                                A Professional Corporation




                                                             12            41.       Answering paragraph 41 of the First Amended Complaint, at this time
                                       Los Angeles




                                                             13   Answering Defendants lack information or belief sufficient to either admit or deny
                                                             14   the allegations and; on that basis, deny each and every allegation contained therein.
                                                             15            42.       Answering paragraph 42 of the First Amended Complaint, at this time
                                                             16   Answering Defendants lack information or belief sufficient to either admit or deny
                                                             17   the allegations and, on that basis, deny each and every allegation contained therein.
                                                             18            43.       Answering paragraph 43 of the First Amended Complaint, at this time
                                                             19   Answering Defendants lack information or belief sufficient to either admit or deny
                                                             20   the allegations and, on that basis, deny each and every allegation contained therein.
                                                             21            44.       Answering paragraph 44 of the First Amended Complaint, at this time
                                                             22   Answering Defendants lack information or belief sufficient to either admit or deny
                                                             23   the allegations and, on that basis, deny each and every allegation contained therein.
                                                             24            45.       Answering paragraph 45 of the First Amended Complaint, the
                                                             25   allegations contained therein are legal conclusions or recitations of the law as
                                                             26   alleged by Plaintiff, and as such, they do not require a response. To the extent a
                                                             27   response may be required, Answering Defendants deny each and every a1legation
                                                             28   contained therein.
                                                                                                                              DEFENDANTS’ ANSWER TO FIRST
                                                                  4852-6220-8610.1                            -9-                    AMENDED COMPLAINT
                                                             Case 2:15-cv-00652-AB-E Document 68 Filed 04/16/18 Page 10 of 22 Page ID #:782



                                                               1            Prayer: In response to Plaintiff’s Prayer for Relief contained in his First
                                                               2   Amended Complaint, Answering Defendants deny that Plaintiff is entitled to any
                                                               3   type of relief requested, including but not limited to compensatory damages,
                                                               4   punitive damages, restitution, injunctive relief, or costs and expenses of this action,
                                                               5   or any relief whatsoever.
                                                               6                                   AFFIRMATIVE DEFENSES
                                                               7            Answering Defendants further assert the following affirmative defenses. By
                                                               8   asserting these defenses, Answering Defendants do not concede that they have the
                                                               9   burden of production or proof as to any affirmative defense asserted below.
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                                                             10    Further, Answering Defendants do not presently know all of the facts concerning
                                                             11    the conduct of Plaintiff sufficient to state all affirmative defenses at this time.
                                A Professional Corporation




                                                             12    Answering Defendants are informed and believe that a reasonable opportunity for
                                       Los Angeles




                                                             13    investigation and discovery will reveal facts in support of the following affirmative
                                                             14    defenses.
                                                             15                                FIRST AFFIRMATIVE DEF'ENSE
                                                             16                                      (Failure to State a Claim)
                                                             17             1.        As a separate and distinct affirmative defense to the First Amended
                                                             18    Complaint, Answering Defendants allege that the First Amended Complaint fails to
                                                             19    state facts sufficient to constitute a claim upon which relief may be granted.
                                                             20                                  SECOND AFFIRMATIVE DEFENSE
                                                             21                       (Lack of Subject Matter Jurisdiction - Binding Arbitration)
                                                             22             2.        As a separate and distinct affirmative defense to the First Amended
                                                             23    Complaint, Answering Defendants allege that the Court lacks subject matter
                                                             24    jurisdiction over the First Amended Complaint and each cause of action therein, or
                                                             25    some of them, to the extent that Plaintiff is subject to an agreement requiring him to
                                                             26    submit his claims against Defendants to binding arbitration under American
                                                             27    Arbitration Association rules.
                                                             28
                                                                                                                                  DEFENDANTS’ ANSWER TO FIRST
                                                                   4852-6220-8610.1                            - 10 -                    AMENDED COMPLAINT
                                                             Case 2:15-cv-00652-AB-E Document 68 Filed 04/16/18 Page 11 of 22 Page ID #:783



                                                               1                               THIRD AFFIRMATIVE DEFENSE
                                                               2                                       (Equitable Doctrines)
                                                               3            3.        As a separate and distinct affirmative defense to the First Amended
                                                               4   Complaint, Answering Defendants allege that the First Amended Complaint and
                                                               5   each claim set forth therein, or some of them, are barred by the equitable doctrines
                                                               6   of unclean hands, estoppel, laches, and unjust enrichment.
                                                               7                              FOURTH AFFIRMATIVE DEFENSE
                                                               8                                             (Consent)
                                                               9            4.        As a separate and distinct affirmative defense to the First Amended
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                                                             10    Complaint, Answering Defendants allege that the First Amended Complaint and
                                                             11    each claim set forth therein against Answering Defendants are barred by the
                                A Professional Corporation




                                                             12    doctrine of consent.
                                       Los Angeles




                                                             13                                 FIFTH AFFIRMATIVE DEFENSE
                                                             14                                      (Accord and Satisfaction)
                                                             15             5.        As a separate and distinct affirmative defense to the First Amended
                                                             16    Complaint, Answering Defendants allege that that any monies owed to Plaintiff
                                                             17    have been paid in full and any obligations they may have owed to Plaintiff have
                                                             18    been paid or otherwise satisfied in full.
                                                             19                                SIXTH AFFIRMATIVE DEFENSE
                                                             20                   (Contract Too Vague, Uncertain, Indefinite to be Enforced)
                                                             21             6.        As a separate and distinct affirmative defense to the First Amended
                                                             22    Complaint, Answering Defendants allege that the First Amended Complaint and
                                                             23    any claim for breach of contract is barred, in whole or in part, because the purported
                                                             24    contract and/or agreement upon which the claim is based is too vague, uncertain,
                                                             25    and indefinite to be enforced.
                                                             26                              SEVENTH AFFIRMATIVE DEFENSE
                                                             27                          (Answering Defendants Fully Performed Duties)
                                                             28             7.        As a separate and distinct affirmative defense to the First Amended
                                                                                                                                 DEFENDANTS’ ANSWER TO FIRST
                                                                   4852-6220-8610.1                            - 11 -                   AMENDED COMPLAINT
                                                             Case 2:15-cv-00652-AB-E Document 68 Filed 04/16/18 Page 12 of 22 Page ID #:784



                                                               1   Complaint, Answering Defendants allege that to the extent that any agreements,
                                                               2   promises and/or covenants were made by Answering Defendants (and Answering
                                                               3   Defendants deny that any was made), Answering Defendants fully performed their
                                                               4   duties under any and all agreements between them and Plaintiff, and/or factors
                                                               5   extraneous to the alleged contract(s) made performance impossible and, therefore,
                                                               6   Answering Defendants did not breach or intend to breach any contract(s) between
                                                               7   Plaintiff and Answering Defendants.
                                                               8                              EIGHTH AFFIRMATIVE DEFENSE
                                                               9                                 (Lack of Mutuality of Agreement)
Ropers Majeski Kohn & Bentley




                                                             10             8.        As a separate and distinct affirmative defense to the First Amended
                                                             11    Complaint, Answering Defendants allege that any purported contract is
                                A Professional Corporation




                                                             12    unenforceable for lack of mutuality of agreement.
                                       Los Angeles




                                                             13                                NINTH AFFIRMATIVE DEFENSE
                                                             14                                            (Impossibility)
                                                             15             9.        As a separate and distinct affirmative defense to the First Amended
                                                             16    Complaint, Answering Defendants allege that the First Amended Complaint and
                                                             17    each cause of action set forth therein, or some of them, are barred because any
                                                             18    failure of performance, if any such failure occurred, was the result of impossibility
                                                             19    of performance, and not the result of a violation of the law.
                                                             20                                TENTH AFFIRMATIVE DEFENSE
                                                             21                                       (Performance Excused)
                                                             22             10.       As a separate and distinct affirmative defense to the First Amended
                                                             23    Complaint, Answering Defendants allege that the First Amended Complaint and
                                                             24    each cause of action set forth therein, or some of them, are barred because
                                                             25    Answering Defendants’ obligations, if any, have been extinguished pursuant to
                                                             26    section 1495 of the Civil Code because Plaintiff was not able or willing to perform
                                                             27    according to any offer by Answering Defendants under the alleged contract, if any.
                                                             28
                                                                                                                                DEFENDANTS’ ANSWER TO FIRST
                                                                   4852-6220-8610.1                            - 12 -                  AMENDED COMPLAINT
                                                             Case 2:15-cv-00652-AB-E Document 68 Filed 04/16/18 Page 13 of 22 Page ID #:785



                                                               1                            ELEVENTH AFFIRMATIVE DEFENSE
                                                               2                                           (Reformation)
                                                               3            11.       As a separate and distinct affirmative defense to the First Amended
                                                               4   Complaint, Answering Defendants allege that the First Amended Complaint and
                                                               5   each cause of action set forth therein, or some of them, are barred due to
                                                               6   reformation.
                                                               7                             TWELFTH AFFIRMATIVE DEFENSE
                                                               8                                           (Modification)
                                                               9            12.       As a separate and distinct affirmative defense to the First Amended
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                                                             10    Complaint, Answering Defendants allege that the First Amended Complaint and
                                                             11    each cause of action set forth therein, or some of them, are barred because of
                                A Professional Corporation




                                                             12    modification of the alleged contract by written or oral agreement.
                                       Los Angeles




                                                             13                            THIRTEENTH AFFIRMATIVE DEFENSE
                                                             14                                             (Rescission)
                                                             15             13.       As a separate and distinct affirmative defense to the First Amended
                                                             16    Complaint, Answering Defendants allege that the First Amended Complaint and
                                                             17    each cause of action set forth therein, or some of them, are barred due to rescission.
                                                             18                            FOURTEENTH AFFIRMATIVE DEFENSE
                                                             19                                        (Mistake of Fact/Law)
                                                             20             14.       As a separate and distinct affirmative defense to the First Amended
                                                             21    Complaint, Answering Defendants allege that the First Amended Complaint and
                                                             22    each cause of action set forth therein, or some of them, are barred because, without
                                                             23    admitting that any contract has been formed, of the parties’ mistake of fact and/or
                                                             24    law in connection with the formation of any contract.
                                                             25                             FIFTEENTH AFFIRMATIVE DEFENSE
                                                             26                       (Plaintiff’s Breaches of Good Faith and Fair Dealing)
                                                             27             15.       As a separate and distinct affirmative defense to the First Amended
                                                             28    Complaint, Answering Defendants allege that the First Amended Complaint and
                                                                                                                                DEFENDANTS’ ANSWER TO FIRST
                                                                   4852-6220-8610.1                            - 13 -                  AMENDED COMPLAINT
                                                             Case 2:15-cv-00652-AB-E Document 68 Filed 04/16/18 Page 14 of 22 Page ID #:786



                                                               1   each cause of action set forth therein, or some of them, are barred because any
                                                               2   breaches of the alleged contract, which Answering Defendants deny, were excused
                                                               3   by Plaintiff’s prior material breaches of the covenant of good faith and fair dealing.
                                                               4                               SIXTEENTH AFFIRMATIVE DEFENSE
                                                               5                                     (Performance Frustrated)
                                                               6            16.       As a separate and distinct affirmative defense to the First Amended
                                                               7   Complaint, Answering Defendants allege that the First Amended Complaint and
                                                               8   each cause of action set forth therein, or some of them, are barred because
                                                               9   Answering Defendants’ obligations, if any, have been extinguished pursuant to
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                                                             10    section 1495 of the Civil Code because Plaintiff prevented or frustrated Answering
                                                             11    Defendants’ performance under the alleged contract.
                                A Professional Corporation




                                                             12                           SEVENTEENTH AFFIRMATIVE DEFENSE
                                       Los Angeles




                                                             13                                  (Failure to Plead with Specificity)
                                                             14             17.       As a separate and distinct affirmative defense to the First Amended
                                                             15    Complaint, Answering Defendants allege that Plaintiff’s fraud claim is barred
                                                             16    because the pleading is vague and uncertain, is not pled with particularity, fails to
                                                             17    properly plead any damages resulting from the alleged fraud, and fails to
                                                             18    demonstrate the specificity required for pleading of intentional torts.
                                                             19                            EIGHTEENTH AFFIRMATIVE DEFENSE
                                                             20                                      (No Reasonable Reliance)
                                                             21             18.       As a separate and distinct affirmative defense to the First Amended
                                                             22    Complaint, Answering Defendants allege that Plaintiff did not reasonably rely upon
                                                             23    any allegedly fraudulent statements or any promises or other statements allegedly
                                                             24    made by Answering Defendants.
                                                             25                            NINETEENTH AFFIRMATIVE DEFENSE
                                                             26                                      (No Detrimental Reliance)
                                                             27             19.       As a separate and distinct affirmative defense to the First Amended
                                                             28    Complaint, Answering Defendants allege that Plaintiff did not substantially change
                                                                                                                                DEFENDANTS’ ANSWER TO FIRST
                                                                   4852-6220-8610.1                            - 14 -                  AMENDED COMPLAINT
                                                             Case 2:15-cv-00652-AB-E Document 68 Filed 04/16/18 Page 15 of 22 Page ID #:787



                                                               1   his position to his detriment in reliance upon any promises allegedly made to
                                                               2   Plaintiff by Answering Defendants.
                                                               3                            TWENTIETH AFFIRMATIVE DEFENSE
                                                               4                      (Alleged Representations Were True, Not Knowingly
                                                               5                       False, Opinion, and Based On Reasonable Ground)
                                                               6             20.      Answering Defendants allege that Answering Defendants' alleged
                                                               7   representations were true, or not knowingly false when made, or were merely
                                                               8   statements of opinion, or Answering Defendants had a reasonable ground for such
                                                               9   belief.
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                                                             10                           TWENTY-FIRST AFFIRMATIVE DEFENSE
                                                             11                            (Uncertainty of Alleged Misrepresentations)
                                A Professional Corporation




                                                             12              21.      As a separate and distinct affirmative defense to the First Amended
                                       Los Angeles




                                                             13    Complaint, Answering Defendants allege that Plaintiff’s misrepresentation claims
                                                             14    are unenforceable because the alleged misrepresentations by Answering Defendants
                                                             15    were too uncertain and indefinite to be enforced.
                                                             16                         TWENTY-SECOND AFFIRMATIVE DEFENSE
                                                             17                                           (Breach of Duty)
                                                             18              22.      As a separate and distinct affirmative defense to the First Amended
                                                             19    Complaint, Answering Defendants are informed and believe that a reasonable
                                                             20    opportunity for investigation and discovery will reveal and, on that basis, allege
                                                             21    Plaintiff’s claims are barred by his own breach of the duties owed to Answering
                                                             22    Defendants under California Labor Code sections 2854, 2856, 2857, 2858 and/or
                                                             23    2859.
                                                             24                          TWENTY-THIRD AFFIRMATIVE DEFENSE
                                                             25                                     (After-Acquired Evidence)
                                                             26              23.      As a separate and distinct affirmative defense to the First Amended
                                                             27    Complaint, Answering Defendants allege that, to the extent during the course of
                                                             28    this litigation Answering Defendants acquire any evidence of wrongdoing of
                                                                                                                                DEFENDANTS’ ANSWER TO FIRST
                                                                   4852-6220-8610.1                            - 15 -                  AMENDED COMPLAINT
                                                             Case 2:15-cv-00652-AB-E Document 68 Filed 04/16/18 Page 16 of 22 Page ID #:788



                                                               1   Plaintiff, which wrongdoing would have materially affected the terms and
                                                               2   conditions of Plaintiff’s employment, or would have resulted in Plaintiff being
                                                               3   either demoted, disciplined, or terminated, such after-acquired evidence shall bar
                                                               4   Plaintiff’s claim on liability or damages and shall reduce such claim as provided by
                                                               5   law.
                                                               6                        TWENTY-FOURTH AFFIRMATIVE DEFENSE
                                                               7                                      (Statute of Limitations)
                                                               8             24.      Answering Defendants allege that each purported cause of action set
                                                               9   forth in the First Amended Complaint is barred in whole or in part by the applicable
Ropers Majeski Kohn & Bentley




                                                             10    statute(s) of limitation, including without limitation, the four-year limitations period
                                                             11    contained in California Code of Civil Procedure section 337, the three-year
                                A Professional Corporation




                                                             12    limitations period contained in California Code of Civil Procedure section 338(d);
                                       Los Angeles




                                                             13    the four-year limitations period contained in California Code of Civil Procedure
                                                             14    section 343; and/or the four year limitations period contained in Business and
                                                             15    Professions Code section 17208.
                                                             16                          TWENTY-FIFTH AFFIRMAT IVE DEFENSE
                                                             17                                       (No Vicarious Liability)
                                                             18             25.       As a separate and distinct affirmative defense to the First Amended
                                                             19    Complaint, Answering Defendants allege that they are not vicariously liable for any
                                                             20    act or omission of any other person, by way of respondeat superior, agency, or
                                                             21    otherwise.
                                                             22                           TWENTY-SIXTH AFFIRMATIVE DEFENSE
                                                             23                           (Comparative Fault/Contributory Negligence)
                                                             24             26.       As a separate and distinct affirmative defense to the First Amended
                                                             25    Complaint, Answering Defendants allege that Plaintiff failed to exercise reasonable
                                                             26    and ordinary care, caution and/or prudence and the alleged injuries and damages, if
                                                             27    any were suffered, were proximately caused and/or contributed to by Plaintiff's own
                                                             28    negligent and/or intentional conduct and any recovery to which Plaintiff might be
                                                                                                                                 DEFENDANTS’ ANSWER TO FIRST
                                                                   4852-6220-8610.1                            - 16 -                   AMENDED COMPLAINT
                                                             Case 2:15-cv-00652-AB-E Document 68 Filed 04/16/18 Page 17 of 22 Page ID #:789



                                                               1   entitled must be reduced by reason of Plaintiff’s contributory fault and/or
                                                               2   comparative negligence.
                                                               3                       TWENTY-SEVENTH AFFIRMATIVE DEFENSE
                                                               4                              (Doctrine of Avoidable Consequences)
                                                               5            27.       As a separate and distinct affirmative defense to the First Amended
                                                               6   Complaint, Answering Defendants allege that Plaintiff’s causes of action, and each
                                                               7   of them, are barred, in whole or in part, by the doctrine of avoidable consequences.
                                                               8                        TWENTY-EIGHTH AFFIRMATIVE DEFENSE
                                                               9                                        (Failure to Mitigate)
Ropers Majeski Kohn & Bentley




                                                             10             28.       As a separate and distinct affirmative defense, Answering Defendants
                                                             11    are informed and believe that further investigation and discovery will reveal, and on
                                A Professional Corporation




                                                             12    that basis allege that, without admitting that Plaintiff is entitled to any recovery,
                                       Los Angeles




                                                             13    Plaintiff has failed to take reasonable steps to mitigate his alleged damages.
                                                             14                          TWENTY-NINTH AFFIRMATIVE DEFENSE
                                                             15                                        (Set Off and/or Offset)
                                                             16             29.       As a separate and distinct affirmative defense to the First Amended
                                                             17    Complaint, Answering Defendants contend that Plaintiff is not entitled to recover
                                                             18    anything in this action, and were Plaintiff to obtain any monetary relief, any such
                                                             19    recovery must be offset and/or set off by all damages and losses proximately caused
                                                             20    by Plaintiff’s conduct.
                                                             21                             THIRTIETH AFFIRMATIVE DEFENSE
                                                             22                                (Punitive Damages Unconstitutional)
                                                             23             30.       As a separate and distinct affirmative defense to the First Amended
                                                             24    Complaint, Answering Defendants allege that Plaintiff is not entitled to recover any
                                                             25    punitive damages because the imposition of such damages constitutes a violation of
                                                             26    Answering Defendants' rights under the United States and/or California
                                                             27    Constitutions, including but not limited to, Answering Defendants’ rights to due
                                                             28    process and/or equal protection under the law, and their right to protection from
                                                                                                                                 DEFENDANTS’ ANSWER TO FIRST
                                                                   4852-6220-8610.1                            - 17 -                   AMENDED COMPLAINT
                                                             Case 2:15-cv-00652-AB-E Document 68 Filed 04/16/18 Page 18 of 22 Page ID #:790



                                                               1   “excessive fines.”
                                                               2                          THIRTY-FIRST AFFIRMATIVE DEFENSE
                                                               3                                     (Not Plaintiff's Employer)
                                                               4            31.       As a separate and distinct affirmative defense to the First Amended
                                                               5   Complaint, Answering Defendants allege that Plaintiff’s claims against Answering
                                                               6   Defendants NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP,
                                                               7   NAPOLI BERN RIPKA SHKOLNIK, LLP, NAPOLI BERN RIPKA, LLP, and
                                                               8   NAPOLI KAISER BERN, LLP are barred, in whole or in part, because NAPOLI
                                                               9   BERN RIPKA SHKOLNIK & ASSOCIATES, LLP, NAPOLI BERN RIPKA
Ropers Majeski Kohn & Bentley




                                                             10    SHKOLNIK, LLP, NAPOLI BERN RIPKA, LLP, and NAPOLI KAISER BERN,
                                                             11    LLP were not Plaintiff’s employer and were not parties to any employment
                                A Professional Corporation




                                                             12    agreement with Plaintiff.
                                       Los Angeles




                                                             13                          THIRTY-SECOND AFFIRMATIVE DEFENSE
                                                             14                                   (Lack of Personal Jurisdiction)
                                                             15             32.       This Court lacks personal jurisdiction over Answering Defendants
                                                             16    NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP, NAPOLI BERN
                                                             17    RIPKA SHKOLNIK, LLP, NAPOLI BERN RIPKA, LLP, and NAPOLI KAISER
                                                             18    BERN, LLP.
                                                             19                           THIRTY-THIRD AFFIRMATIVE DEFENSE
                                                             20                                       (No Alter Ego Liability)
                                                             21             33.       As a separate and distinct affirmative defense to the First Amended
                                                             22    Complaint, Answering Defendant alleges that Plaintiff’s claims are barred, in whole
                                                             23    or in part, because Answering Defendant is not the alter ego of any other defendant
                                                             24    or entity.
                                                             25                          THIRTY-FOURTH AFFIRMATIVE DEFENSE
                                                             26                                  (Estoppel on Alter Ego Liability)
                                                             27             34.       As a separate and distinct affirmative defense to the First Amended
                                                             28    Complaint, Answering Defendant alleges that Plaintiff is estopped from relying on
                                                                                                                                 DEFENDANTS’ ANSWER TO FIRST
                                                                   4852-6220-8610.1                            - 18 -                   AMENDED COMPLAINT
                                                             Case 2:15-cv-00652-AB-E Document 68 Filed 04/16/18 Page 19 of 22 Page ID #:791



                                                               1   the equitable alter ego doctrine because Plaintiff at all times knew and agreed that
                                                               2   Defendants NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP;
                                                               3   NAPOLI BERN RIPKA SHKOLNIK, LLP; NAPOLI, BERN RIPKA, LLP;
                                                               4   NAPOLI, KAISER, BERN, LLP (the Entity Defendants) were entities separate
                                                               5   from Answering Defendant.
                                                               6                          ADDITIONAL AFFIRMATIVE DEFENSES
                                                               7            Answering Defendants state that they do not presently know all facts
                                                               8   concerning Plaintiff’s claims sufficient to state all affirmative defenses at this time.
                                                               9   Answering Defendants will seek leave of this Court to amend this Answer should
Ropers Majeski Kohn & Bentley




                                                             10    they later discover facts demonstrating the existence of additional affirmative
                                                             11    defenses.
                                A Professional Corporation




                                                             12                                      PRAYER FOR RELIEF
                                       Los Angeles




                                                             13             WHEREFORE, Answering Defendants pray for relief as follows:
                                                             14             1.        That Plaintiff takes nothing and that the First Amended Complaint be
                                                             15    dismissed in its entirety with prejudice;
                                                             16             2.        That judgment be entered in Answering Defendants’ favor;
                                                             17             3.        That Answering Defendants be awarded their attorneys’ fees and costs
                                                             18    of suit herein, to the extent permitted under applicable law; and
                                                             19             4.        That Answering Defendants be awarded such other, further relief as
                                                             20    the Court deems just and proper.
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                                                                                                                                DEFENDANTS’ ANSWER TO FIRST
                                                                   4852-6220-8610.1                            - 19 -                  AMENDED COMPLAINT
                                                             Case 2:15-cv-00652-AB-E Document 68 Filed 04/16/18 Page 20 of 22 Page ID #:792



                                                               1   Dated: April 16, 2018                ROPERS, MAJESKI, KOHN &
                                                                                                        BENTLEY
                                                               2
                                                               3
                                                                                                        By:/s/ Stephen J. Erigero
                                                               4                                           STEPHEN J. ERIGERO
                                                                                                           TAHEREH MAHMOUDIAN
                                                               5                                           Attorneys for Answering Defendants
                                                                                                           NAPOLI BERN RIPKA &
                                                               6                                           ASSOCIATES, LLP; NAPOLI
                                                                                                           BERN RIPKA SHKOLNIK &
                                                               7                                           ASSOCIATES, LLP; NAPOLI
                                                                                                           BERN RIPKA SHKOLNIK, LLP;
                                                               8                                           NAPOLI, BERN, RIPKA, LLP;
                                                                                                           NAPOLI, KAISER, BERN, LLP
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                                                                                                                      DEFENDANTS’ ANSWER TO FIRST
                                                                   4852-6220-8610.1                   - 20 -                 AMENDED COMPLAINT
                                                             Case 2:15-cv-00652-AB-E Document 68 Filed 04/16/18 Page 21 of 22 Page ID #:793



                                                               1   CASE NAME:           WILLICK v. NAPOLI BERN RIPKA & ASSOCIATES, et al.

                                                               2   ACTION NO.:          2:15cv652

                                                               3
                                                                                                    CERTIFICATE OF SERVICE
                                                               4
                                                                   The undersigned certifies that the foregoing document:
                                                               5
                                                                     DEFENDANTS NAPOLI BERN RIPKA SHKOLNIK & ASSOCIATES, LLP; NAPOLI
                                                               6     BERN RIPKA SHKOLNIK, LLP; NAPOLI, BERN, RIPKA, LLP; NAPOLI, KAISER,
                                                                             BERN, LLP’S ANSWER TO FIRST AMENDED COMPLAINT
                                                               7
                                                                   was filed with the Court’s ECF system, which, in turn, served a true and accurate
                                                               8   copy on the following listed counsel:
                                                               9                     Electronically Serviced Through ECF to:
Ropers Majeski Kohn & Bentley




                                                             10
                                                                   James Lewis Goldman, Esq.                             Attorneys for Plaintiff Marc I.
                                                             11    MILLER BARONDESS, LLP                                 Willick, an individual
                                A Professional Corporation




                                                                   1999 Avenue of the Stars, Suite 1000
                                                             12    Los Angeles, CA 90067
                                       Los Angeles




                                                             13    Email: Jgoldman@millerbarondess.com
                                                                   Phone: (310) 552-4400
                                                             14    Fax: (310) 552-8400

                                                             15    Kelly Drew Folger, Esq.                               Attorneys for Defendant Marc J.
                                                                   ANDREWS LAGASSE BRANCH AND BELL LLP                   Bern, an individual
                                                             16
                                                                   4365 Executive Drive, Suite 950
                                                             17    San Diego, CA 92121
                                                                   Email: Kfolger@albblaw.com
                                                             18    Phone: (858) 461-6606
                                                                   Fax: (858) 461-6608
                                                             19
                                                                   Traci S. Lagasse, Esq.
                                                             20
                                                                   ANDREWS LAGASSE BRANCH AND BELL LLP
                                                             21    4365 Executive Drive, Suite 950
                                                                   San Diego, CA 92121
                                                             22    Email: Tlagasse@albblaw.com
                                                                   Phone: (858) 345-5080
                                                             23    Fax: (858) 345-5025
                                                             24
                                                                   Todd E. Croutch, Esq.                                 Attorneys for Defendant Paul J.
                                                             25    FRASER WATSON AND CROUTCH                             Napoli, an individual
                                                                   100 West Broadway, Suite 650
                                                             26    Glendale, CA 91210
                                                                   Email: Tcroutch@fwcllp.com
                                                             27    Phone: (818) 543-1380
                                                             28    Fax: (818) 543-1389

                                                                                                                             DEFENDANTS’ ANSWER TO FIRST
                                                                   4852-6220-8610.1                          - 21 -                 AMENDED COMPLAINT
                                                             Case 2:15-cv-00652-AB-E Document 68 Filed 04/16/18 Page 22 of 22 Page ID #:794



                                                               1          I declare under penalty of perjury under the laws of the State of California
                                                               2   that the foregoing is true and correct.

                                                               3
                                                               4   Dated: April 16, 2018                   /s/ Kimberly Cederquist
                                                                                                            Kim Cederquist
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Ropers Majeski Kohn & Bentley




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                                A Professional Corporation




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                                                                                                                            DEFENDANTS’ ANSWER TO FIRST
                                                                   4852-6220-8610.1                        - 22 -                  AMENDED COMPLAINT
